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11

12                          UNITED STATES DISTRICT COURT
13                        CENTRAL DISTRICT OF CALIFORNIA
14
          JULIO PALACIOS, an individual;
15                                                  Case No. 2:21-cv-03859-MRW
                     Plaintiff,
16
                v.                                   STIPULATED PROTECTIVE
17                                                   ORDER
          NASSAU LIFE AND ANNUITY
18        COMPANY et al;                             (MRW VERSION 4/19)
19                   Defendants.                    ‫ ܈‬Check if submitted without
20                                                  material modifications to MRW form
21

22
     1.      INTRODUCTION
23
             1.1     PURPOSES AND LIMITATIONS
24
             Discovery in this action is likely to involve production of confidential,
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     proprietary, or private information for which special protection from public
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     disclosure and from use for any purpose other than prosecuting this litigation may
27
     be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
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 1   enter the following Stipulated Protective Order. The parties acknowledge that this
 2   Order does not confer blanket protections on all disclosures or responses to
 3   discovery and that the protection it affords from public disclosure and use extends
 4   only to the limited information or items that are entitled to confidential treatment
 5   under the applicable legal principles. The parties further acknowledge, as set forth
 6   in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
 7   file confidential information under seal; Civil Local Rule 79-5 sets forth the
 8   procedures that must be followed and the standards that will be applied when a party
 9   seeks permission from the court to file material under seal.
10         1.2    GOOD CAUSE STATEMENT
11         Good cause exists supporting the entry of a pretrial protective order in this
12   case. Plaintiff’s claims stem from personal injuries he allegedly sustained as a result
13   of an incident occurring on July 8, 2019. Plaintiff received medical treatment for
14   these alleged injuries and filed a claim for benefits under insurance policies issued
15   to him by Defendant. The Parties now dispute whether and the extent to which
16   Plaintiff is owed benefits under the insurance policies. As a result, the Parties may
17   exchange, or obtain from other non-parties to the Action, certain information and
18   documents that the Party or Non-Party making the production believes in good faith
19   to constitute trade secrets, proprietary business information, competitively sensitive
20   information, or non-public personal medical or financial information.
21         Categories of such information includes, but is not limited to: (a) financial
22   information previously not disclosed to the public—including but not limited to
23   Plaintiff’s tax returns; (b) material previously not disclosed to the public relating to
24   ownership or control of any nonpublic company; (c) business plans, product
25   development information, or marketing plans previously not disclosed to the public;
26   (d) commercially sensitive and/or proprietary actuarial information previously not
27   disclosed to the public; (e) any information of a personal or intimate nature
28   regarding any individual, but not limited to, medical records or other personal
                                                 2
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 1   identifying information required to be redacted in public filings pursuant to Federal
 2   Rule of Civil Procedure 5.2, and personal identifying information protected from
 3   disclosure by federal or state privacy laws; (f) any other information of a proprietary
 4   or confidential nature within the meaning of Federal Rule of Civil Procedure 26; or
 5   (g) any other category of information hereinafter given confidential status by the
 6   Court. Without a pretrial protective order, the Parties may suffer harm in that
 7   sensitive, personal, and/or non-public information may be used in competition
 8   against the Parties or to the Parties’ detriment. As a result, good cause exists for
 9   entry of this pretrial protective order.
10   2.     DEFINITIONS
11          2.1    Action: This pending federal lawsuit, styled as Julio Palacios v. Nassau
12   Life and Annuity Company, et al, Case No. 2:21-cv-03859-MRW, pending in the
13   United States District Court for the Central District of California.
14          2.2    Challenging Party: a Party or Non-Party that challenges the
15   designation of information or items under this Order.
16          2.3    “CONFIDENTIAL” Information or Items: information (regardless of
17   how it is generated, stored or maintained) or tangible things that qualify for
18   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
19   the Good Cause Statement.
20          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
21   their support staff).
22          2.5    Designating Party: a Party or Non-Party that designates information or
23   items that it produces in disclosures or in responses to discovery as
24   “CONFIDENTIAL.”
25          2.6    Disclosure or Discovery Material: all items or information, regardless
26   of the medium or manner in which it is generated, stored, or maintained (including,
27   among other things, testimony, transcripts, and tangible things), that are produced or
28   generated in disclosures or responses to discovery in this matter.
                                                 3
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 1         2.7    Expert: a person with specialized knowledge or experience in a matter
 2   pertinent to the litigation who has been retained by a Party or its counsel to serve as
 3   an expert witness or as a consultant in this Action.
 4         2.8    House Counsel: attorneys who are employees of a party to this Action.
 5   House Counsel does not include Outside Counsel of Record or any other outside
 6   counsel.
 7         2.9    Non-Party: any natural person, partnership, corporation, association, or
 8   other legal entity not named as a Party to this action.
 9         2.10 Outside Counsel of Record: attorneys who are not employees of a
10   party to this Action but are retained to represent or advise a party to this Action and
11   have appeared in this Action on behalf of that party or are affiliated with a law firm
12   which has appeared on behalf of that party, and includes support staff.
13         2.11 Party: any party to this Action, including all of its officers, directors,
14   employees, consultants, retained experts, and Outside Counsel of Record (and their
15   support staffs).
16         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
17   Discovery Material in this Action.
18         2.13 Professional Vendors: persons or entities that provide litigation
19   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
20   demonstrations, and organizing, storing, or retrieving data in any form or medium)
21   and their employees and subcontractors.
22         2.14 Protected Material: any Disclosure or Discovery Material that is
23   designated as “CONFIDENTIAL.”
24         2.15 Receiving Party: a Party that receives Disclosure or Discovery
25   Material from a Producing Party.
26
27   3.    SCOPE
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 1         The protections conferred by this Stipulation and Order cover not only
 2   Protected Material (as defined above), but also (1) any information copied or
 3   extracted from Protected Material; (2) all copies, excerpts, summaries, or
 4   compilations of Protected Material; and (3) any testimony, conversations, or
 5   presentations by Parties or their Counsel that might reveal Protected Material.
 6         Any use of Protected Material at trial will be governed by the orders of the
 7   trial judge. This Order does not govern the use of Protected Material at trial.
 8   4.    DURATION
 9         Even after final disposition of this litigation, the confidentiality obligations
10   imposed by this Order will remain in effect until a Designating Party agrees
11   otherwise in writing or a court order otherwise directs. Final disposition will be
12   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
13   or without prejudice; and (2) final judgment herein after the completion and
14   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
15   including the time limits for filing any motions or applications for extension of time
16   pursuant to applicable law.
17   5.    DESIGNATING PROTECTED MATERIAL
18         5.1    Exercise of Restraint and Care in Designating Material for Protection.
19   Each Party or Non-Party that designates information or items for protection under
20   this Order must take care to limit any such designation to specific material that
21   qualifies under the appropriate standards. The Designating Party must designate for
22   protection only those parts of material, documents, items, or oral or written
23   communications that qualify so that other portions of the material, documents,
24   items, or communications for which protection is not warranted are not swept
25   unjustifiably within the ambit of this Order.
26         Mass, indiscriminate, or routinized designations are prohibited. Designations
27   that are shown to be clearly unjustified or that have been made for an improper
28   purpose (e.g., to unnecessarily encumber the case development process or to impose
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 1   unnecessary expenses and burdens on other parties) may expose the Designating
 2   Party to sanctions.
 3         If it comes to a Designating Party’s attention that information or items that it
 4   designated for protection do not qualify for protection, that Designating Party must
 5   promptly notify all other Parties that it is withdrawing the inapplicable designation.
 6         5.2    Manner and Timing of Designations. Except as otherwise provided in
 7   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
 8   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 9   under this Order must be clearly so designated before the material is disclosed or
10   produced.
11         Designation in conformity with this Order requires:
12         (a) for information in documentary form (e.g., paper or electronic documents,
13   but excluding transcripts of depositions or other pretrial or trial proceedings), that
14   the Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
15   “CONFIDENTIAL legend”), to each page that contains protected material. If only a
16   portion or portions of the material on a page qualifies for protection, the Producing
17   Party also must clearly identify the protected portion(s) (e.g., by making appropriate
18   markings in the margins).
19                A Party or Non-Party that makes original documents available for
20   inspection need not designate them for protection until after the inspecting Party has
21   indicated which documents it would like copied and produced. During the
22   inspection and before the designation, all of the material made available for
23   inspection will be deemed “CONFIDENTIAL.” After the inspecting Party has
24   identified the documents it wants copied and produced, the Producing Party must
25   determine which documents, or portions thereof, qualify for protection under this
26   Order. Then, before producing the specified documents, the Producing Party must
27   affix the “CONFIDENTIAL legend” to each page that contains Protected Material.
28   If only a portion or portions of the material on a page qualifies for protection, the
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 1   Producing Party also must clearly identify the protected portion(s) (e.g., by making
 2   appropriate markings in the margins).
 3             (b) for testimony given in depositions that the Designating Party identify the
 4   Disclosure or Discovery Material on the record, before the close of the deposition all
 5   protected testimony.
 6             (c) for information produced in some form other than documentary and for
 7   any other tangible items, that the Producing Party affix in a prominent place on the
 8   exterior of the container or containers in which the information is stored the legend
 9   “CONFIDENTIAL.” If only a portion or portions of the information warrants
10   protection, the Producing Party, to the extent practicable, will identify the protected
11   portion(s).
12             5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
13   failure to designate qualified information or items does not, standing alone, waive
14   the Designating Party’s right to secure protection under this Order for such material.
15   Upon timely correction of a designation, the Receiving Party must make reasonable
16   efforts to assure that the material is treated in accordance with the provisions of this
17   Order.
18   6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
19             6.1   Timing of Challenges. Any Party or Non-Party may challenge a
20   designation of confidentiality at any time that is consistent with the Court’s
21   Scheduling Order.
22             6.2   Meet and Confer. The Challenging Party will initiate the dispute
23   resolution process (and, if necessary, file a discovery motion) under Local Rule 37.1
24   et seq.
25             6.3   The burden of persuasion in any such challenge proceeding will be on
26   the Designating Party. Frivolous challenges, and those made for an improper
27   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
28   parties) may expose the Challenging Party to sanctions. Unless the Designating
                                                  7
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 1   Party has waived or withdrawn the confidentiality designation, all parties will
 2   continue to afford the material in question the level of protection to which it is
 3   entitled under the Producing Party’s designation until the Court rules on the
 4   challenge.
 5   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
 6         7.1      Basic Principles. A Receiving Party may use Protected Material that is
 7   disclosed or produced by another Party or by a Non-Party in connection with this
 8   Action only for prosecuting, defending, or attempting to settle this Action. Such
 9   Protected Material may be disclosed only to the categories of persons and under the
10   conditions described in this Order. When the Action has been terminated, a
11   Receiving Party must comply with the provisions of section 13 below (FINAL
12   DISPOSITION).
13         Protected Material must be stored and maintained by a Receiving Party at a
14   location and in a secure manner that ensures that access is limited to the persons
15   authorized under this Order.
16         7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
17   otherwise ordered by the court or permitted in writing by the Designating Party, a
18   Receiving Party may disclose any information or item designated
19   “CONFIDENTIAL” only to:
20               (a) the Receiving Party’s Outside Counsel of Record in this Action, as
21   well as employees of said Outside Counsel of Record to whom it is reasonably
22   necessary to disclose the information for this Action;
23               (b) the officers, directors, and employees (including House Counsel) of
24   the Receiving Party to whom disclosure is reasonably necessary for this Action;
25               (c) Experts (as defined in this Order) of the Receiving Party to whom
26   disclosure is reasonably necessary for this Action and who have signed the
27   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
28               (d) the Court and its personnel;
                                                    8
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 1             (e) court reporters and their staff;
 2             (f) professional jury or trial consultants, mock jurors, and Professional
 3   Vendors to whom disclosure is reasonably necessary for this Action and who have
 4   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 5             (g) the author or recipient of a document containing the information or a
 6   custodian or other person who otherwise possessed or knew the information;
 7             (h) during their depositions, witnesses ,and attorneys for witnesses, in the
 8   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
 9   requests that the witness sign the form attached as Exhibit A hereto; and (2) they
10   will not be permitted to keep any confidential information unless they sign the
11   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
12   agreed by the Designating Party or ordered by the court. Pages of transcribed
13   deposition testimony or exhibits to depositions that reveal Protected Material may
14   be separately bound by the court reporter and may not be disclosed to anyone except
15   as permitted under this Stipulated Protective Order; and
16             (i) any mediator or settlement officer, and their supporting personnel,
17   mutually agreed upon by any of the parties engaged in settlement discussions.
18   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
19   IN OTHER LITIGATION
20         If a Party is served with a subpoena or a court order issued in other litigation
21   that compels disclosure of any information or items designated in this Action as
22   “CONFIDENTIAL,” that Party must:
23             (a) promptly notify in writing the Designating Party. Such notification
24   will include a copy of the subpoena or court order;
25             (b) promptly notify in writing the party who caused the subpoena or order
26   to issue in the other litigation that some or all of the material covered by the
27   subpoena or order is subject to this Protective Order. Such notification will include
28   a copy of this Stipulated Protective Order; and
                                                 9
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 1             (c) cooperate with respect to all reasonable procedures sought to be
 2   pursued by the Designating Party whose Protected Material may be affected.
 3         If the Designating Party timely seeks a protective order, the Party served with
 4   the subpoena or court order will not produce any information designated in this
 5   action as “CONFIDENTIAL” before a determination by the court from which the
 6   subpoena or order issued, unless the Party has obtained the Designating Party’s
 7   permission. The Designating Party will bear the burden and expense of seeking
 8   protection in that court of its confidential material and nothing in these provisions
 9   should be construed as authorizing or encouraging a Receiving Party in this Action
10   to disobey a lawful directive from another court.
11   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
12   PRODUCED IN THIS LITIGATION
13             (a) The terms of this Order are applicable to information produced by a
14   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
15   produced by Non-Parties in connection with this litigation is protected by the
16   remedies and relief provided by this Order. Nothing in these provisions should be
17   construed as prohibiting a Non-Party from seeking additional protections.
18             (b) In the event that a Party is required, by a valid discovery request, to
19   produce a Non-Party’s confidential information in its possession, and the Party is
20   subject to an agreement with the Non-Party not to produce the Non-Party’s
21   confidential information, then the Party will:
22                (1) promptly notify in writing the Requesting Party and the Non-Party
23   that some or all of the information requested is subject to a confidentiality
24   agreement with a Non-Party;
25                (2) promptly provide the Non-Party with a copy of the Stipulated
26   Protective Order in this Action, the relevant discovery request(s), and a reasonably
27   specific description of the information requested; and
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                                                10
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 1                (3) make the information requested available for inspection by the
 2   Non-Party, if requested.
 3             (c) If the Non-Party fails to seek a protective order from this court within
 4   14 days of receiving the notice and accompanying information, the Receiving Party
 5   may produce the Non-Party’s confidential information responsive to the discovery
 6   request. If the Non-Party timely seeks a protective order, the Receiving Party will
 7   not produce any information in its possession or control that is subject to the
 8   confidentiality agreement with the Non-Party before a determination by the court.
 9   Absent a court order to the contrary, the Non-Party will bear the burden and expense
10   of seeking protection in this court of its Protected Material.
11   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
12         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
13   Protected Material to any person or in any circumstance not authorized under this
14   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
15   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
16   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
17   persons to whom unauthorized disclosures were made of all the terms of this Order,
18   and (d) request such person or persons to execute the “Acknowledgment and
19   Agreement to Be Bound” that is attached hereto as Exhibit A.
20   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
21   PROTECTED MATERIAL
22         When a Producing Party gives notice to Receiving Parties that certain
23   inadvertently produced material is subject to a claim of privilege or other protection,
24   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
25   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
26   procedure may be established in an e-discovery order that provides for production
27   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
28   (e), insofar as the parties reach an agreement on the effect of disclosure of a
                                                11
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 1   communication or information covered by the attorney-client privilege or work
 2   product protection, the parties may incorporate their agreement in the stipulated
 3   protective order submitted to the court.
 4   12.   MISCELLANEOUS
 5         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
 6   person to seek its modification by the Court in the future.
 7         12.2 Right to Assert Other Objections. By stipulating to the entry of this
 8   Protective Order no Party waives any right it otherwise would have to object to
 9   disclosing or producing any information or item on any ground not addressed in this
10   Stipulated Protective Order. Similarly, no Party waives any right to object on any
11   ground to use in evidence of any of the material covered by this Protective Order.
12         12.3 Filing Protected Material. A Party that seeks to file under seal any
13   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
14   only be filed under seal pursuant to a court order authorizing the sealing of the
15   specific Protected Material at issue. If a Party's request to file Protected Material
16   under seal is denied by the court, then the Receiving Party may file the information
17   in the public record unless otherwise instructed by the court.
18   13.   FINAL DISPOSITION
19         After the final disposition of this Action, as defined in paragraph 4, within 60
20   days of a written request by the Designating Party, each Receiving Party must return
21   all Protected Material to the Producing Party or destroy such material. As used in
22   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
23   summaries, and any other format reproducing or capturing any of the Protected
24   Material. Whether the Protected Material is returned or destroyed, the Receiving
25   Party must submit a written certification to the Producing Party (and, if not the same
26   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
27   (by category, where appropriate) all the Protected Material that was returned or
28   destroyed and (2) affirms that the Receiving Party has not retained any copies,
                                                12
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 1   abstracts, compilations, summaries or any other format reproducing or capturing any
 2   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
 3   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
 4   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
 5   reports, attorney work product, and consultant and expert work product, even if such
 6   materials contain Protected Material. Any such archival copies that contain or
 7   constitute Protected Material remain subject to this Protective Order as set forth in
 8   Section 4 (DURATION).
 9   14.   Any willful violation of this Order may be punished by civil or criminal
10   contempt proceedings, financial or evidentiary sanctions, reference to disciplinary
11   authorities, or other appropriate action at the discretion of the Court.
12

13   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
14

15   DATED: May 31, 2022                         /s/ Harry S. Kaloustian
                                                 Attorneys for Plaintiff
16
17

18   DATED: May 31, 2022                         /s/ Colleen T. Flaherty
                                                 Attorneys for Defendant
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21   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
22

23          May 31, 2022
     DATED:_______________                       __________________________________
                                                 HON. MICHAEL R. WILNER
24                                               United States Magistrate Judge
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 1                                       EXHIBIT A
 2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3         I, _____________________________ [full name], of _________________
 4   [full address], declare under penalty of perjury that I have read in its entirety and
 5   understand the Stipulated Protective Order that was issued by the United States
 6   District Court for the Central District of California on ______________ [date] in the
 7   case of Julio Palacios v. Nassau Life and Annuity Company, et al, Case No. 2:21-cv-
 8   03859-MRW, pending in the United States District Court for the Central District of
 9   California. I agree to comply with and to be bound by all the terms of this Stipulated
10   Protective Order and I understand and acknowledge that failure to so comply could
11   expose me to sanctions and punishment in the nature of contempt. I solemnly promise
12   that I will not disclose in any manner any information or item that is subject to this
13   Stipulated Protective Order to any person or entity except in strict compliance with
14   the provisions of this Order.
15         I further agree to submit to the jurisdiction of the United States District Court
16   for the Central District of California for the purpose of enforcing the terms of this
17   Stipulated Protective Order, even if such enforcement proceedings occur after
18   termination of this action. I hereby appoint __________________________ [full
19   name] of _______________________________________ [full address and
20   telephone number] as my California agent for service of process in connection with
21   this action or any proceedings related to enforcement of this Stipulated Protective
22   Order.
23   Date: ______________________________________
24   City and State where signed: _________________________________
25

26   Printed name: _______________________________
27

28   Signature: __________________________________
                                               14
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 1                                  ECF ATTESTATION
 2          In accordance with Civil Local Rule 5-4.3.4, I, Colleen T. Flaherty, attest that
 3   I have obtained concurrence in the filing of this document from the other signatory
 4   listed here.
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